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                EXHIBIT 27
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                              UNITED STATES DEPARTMENT OF JUSTICE
                               DRUG ENFORCEMENT ADMINISTRATION

                                               )
        IN THE ~IATTER OF                      )              Docket No. 12-32
        CARDINAL HEALTH                        )
                                               )              Administrative Law Judge
        ~~~~~~~~-)                                            Gail A. Randall


                                  DECLARATION OF MICHAEL A. MONE
                                     PURSUANT TO 28 U.S.C. § 1746

               I, Michael A Mone, declare as follows:

               1. I am the Vice President for Supply Chain Integrity of Respondent Cardinal Health,

        Inc. ("Cardinal Health"). I hereby submit this Declaration setting forth my direct testimony in

        this matter on behalf of Cardinal Health. I have personal knowledge of the facts set forth herein

        or believe them to be true based on my experience or upon information provided to me by others.

        I.     Background and Experience

               2. I am a trained and licensed attorney and pharmacist. I graduated from the University

        of Florida College of Law in 1985 with a Juris Doctor degree. I graduated from the University

        of Florida College of Pharmacy in 1981 with a Bachelor of Science in Pharmacy degree. I am

        admitted to the Florida Bar and am registered as a pharmacist in the states of Florida, Texas, and

        Ohio. I was the Executive Director of the Kentucky Board of Pharmacy from September 1996 to

        January 2004. I was an Assistant Attorney General in the State of Florida from August 1993 to

        August 1996. As an Assistant Attorney General, I represented the Boards of Chiropractic,

        Osteopathic, and Veterinary Medicine, providing legal advice to these boards about the

        application of the statutes governing the admission, fitness to practice, and discipline of

        practitioners who fell below professional standards. From January 1987 to November 1991, I

        was a trial and appellate attorney for the Florida Department of Professional Regulation. In that




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        role, I represented the Board of Pharmacy and prosecuted administrative cases against

        pharmacies and pharmacists who engaged in dispensing prescriptions for controlled substances

        that were not issued for legitimate medical purposes. I also assisted in the determination of

        probable cause for the discipline of practitioners who prescribed and dispensed controlled

        substances. I am currently serving a four-year term (2010-2014) as a member of the Ohio Board

        of Pharmacy.

               3. I have held the position of Vice President for Supply Chain Integrity for Cardinal

        Health since December 2007. In this role, I modified Cardinal Health's anti-diversion program

        that existed in December 2007 to comport with the DEA' s letters to distributors dated December

        27, 2007, informing them that, in addition to detecting and reporting suspicious orders in

        accordance with 21 C.F.R. § 130l.74(b), a distributor must not fill "suspicious orders" unless the

        distributor determines that the controlled substances are not likely to be diverted into illegitimate

        channels. Under my supervision and guidance, Cardinal Health has continuously improved its

        anti-diversion program and adapted it to the ever-changing nature of diversion.

               4. I report directly to Gilberto Quintero, a Senior Vice President of Quality and

        Regulatory Affairs for Cardinal Health. I ultimately report to Cardinal Health's Chief Legal and

        Compliance Officer, Craig Morford.

        II.    Distributors' Role And The History Of Anti-Diversion Of Controlled Substances

               A.      The Closed Distribution System And History Of Regulation

               5. In the closed distribution system for controlled substances, wholesale distributors

        such as Cardinal Health interface exclusively with DEA-registered entities: They purchase

        controlled substances from DEA-registered manufacturers and they sell those controlled

        substances to DEA-registered customers.



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               6. As a result of the wholesale distributors' unique position along the supply chain,

        historically and today, very little diversion comes directly from wholesale distributors. By and

        large, wholesale distributors have been directly responsible for the diversion of controlled

        substances only where (1) they distributed outside the closed distribution system; or

        (2) controlled substances in their possession were diverted due to theft, breaches of physical

        security, or criminal conduct by their employees.

               7. That distributors were rarely the source of diversion was well understood in the

        healthcare industry. A 2005 survey conducted by the National Center on Addiction and

        Substance Abuse at Columbia University for a major study of the "diversion problem" concluded

        that only 0.9% of pharmacists and 0.5% of physicians identified drug wholesalers as

        "account[ing] for most of the diversion problem." Respondent Exhibit ("Resp. Exh.") 70 at 119,

        137 (emphasis in original). 1

               8. Instead, the vast majority of diversion has happened at the doctor or pharmacy stage

        of the distribution system, where DEA-registered doctors and DEA-registered pharmacists

        interact with non-DEA-registered patients. In the study mentioned above, the physicians and

        pharmacists surveyed ranked patients, physicians, Internet pharmacies, and retail pharmacies

        higher as a source of diversion than wholesale distributors. Id at 119, 137 (patients identified as

        most accountable by approximately 52% of pharmacists and 59% of physicians; Internet

        pharmacies identified by approximately 15% of pharmacists and 8.6% of physicians; physicians

        identified by 9. 7% of pharmacists and approximately 12% of physicians; retail pharmacies

        identified by 8.5% of pharmacists and 3.1% of physicians).




               All Cardinal Health exhibits referenced in this declaration are true and correct copies of
        the documents at issue.
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               9. Before 2005, DEA focused on the doctors who were writing illegitimate prescriptions

        and the pharmacists who were filling them. To the best of my knowledge, until 2005, regulators

        did not articulate an expectation that distributors actively conduct due diligence regarding their

        downstream customers beyond the reporting of suspicious orders pursuant to 21 C.F.R.

        § 130l.74(d). Rather, regulators principally expected distributors (1) to ensure that they were

        operating exclusively within the closed distribution system by checking the registration status of

        their customers (hospitals, pharmacies, dispensing doctors), and (2) to prevent theft and physical

        diversion of controlled substances from their facilities or in the course of shipping.

               10. To the best of my knowledge, Cardinal Health has not distributed any controlled

        substances to any pharmacy that did not have an active, valid registration with DEA at the time

        of distribution. Furthermore, Cardinal Health's Distribution Centers make great efforts to

        prevent any theft of controlled substances or security breaches in their handling of those

        substances.

               11. The advent of the Internet introduced a new method of potential diversion through

        "Internet pharmacies." As DEA has interpreted the term (and as the term is used in this

        declaration), an "Internet pharmacy" is a pharmacy that

                       fills a prescription that is issued by the physician without the
                       physician having entered into a legitimate doctor-patient
                       relationship under existing professional standards. Typically, a
                       person seeking controlled substances goes to an internet site, fills
                       out a questionnaire which requests basic medical information and
                       payment/shipping information, and requests a specific drug; some
                       Web sites may require that the patient submit a medical record,
                       which is easily falsified. Thereafter, the customer's information is
                       forwarded to a physician either contracted to or employed by the
                       Web site, who reviews the information and issues a prescription,
                       either with or without the benefit of a perfunctory telephone
                       consultation, but always without having conducted a face-to-face
                       review of the person's medical history and a physical exam. The
                       prescription is then either forwarded to the pharmacy or


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                       downloaded electronically by the pharmacy; the pharmacy then
                       fills the prescription and ships it to the customer.

        Southwood Pharms., Inc., 72 Fed. Reg. 36,487, 36,488 n.2 (DEA July 3, 2007).

                12. During the first half of the last decade, the number oflnternet pharmacies increased

        substantially. This new, Internet-based method of diversion took regulators by surprise. To

        respond to Internet pharmacy-based diversion, DEA began for the first time to direct distributors

        to actively conduct due diligence regarding their downstream customers. DEA first

        communicated this new directive to distributors through informal meetings in 2005 and 2006.

        Resp. Exh. 71 contains a copy of materials provided by DEA to Cardinal Health at one such

        meeting in August 2005. DEA then issued a series of letters relating to DEA's expectations in

        2006 and 2007. See Resp. Exhs. 8, 9, 10, 11.

               13. Wholesale distributors were initially caught by surprise as well. Distributors had

        developed anti-theft, physical-security, and registration-verification protocols; by the mid-2000s,

        however, they arguably lacked the expertise to conduct effective independent due diligence of

        their downstream customers. DEA then began bringing enforcement actions against distributors.

        In late 2006, DEA brought an enforcement action against Southwood Pharmaceuticals, which

        resulted in the Administrator's decision in Southwood. DEA also initiated actions against two

        major drug distributors, McKesson Corp. and AmerisourceBergen Corp. In December 2007,

        DEA initiated an enforcement action against Cardinal Health by issuing Immediate Suspension

        Orders ("ISOs") against three Cardinal Health distributions centers. DEA then issued an Order

        to Show Cause against a fourth Cardinal Health distribution center. The ISOs against Cardinal

        Health distribution centers principally related to sales to Internet pharmacies. To settle and

        resolve the 2007 administrative actions against it, Cardinal Health entered into a Settlement and

        Release Agreement and Administrative Memorandum of Agreement ("MOA'') with DEA in


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        2008. See Resp. Exh. 62. Cardinal Health's Lakeland facility resumed distributing controlled

        substances in the fall of 2008. See, e.g., Resp. Exh. 38 (DEA's ARCOS data for pharmacies

        named in the February 2, 2012 immediate suspension order, which shows no distribution of

        controlled substances until November 2008).

                14. Once downstream oversight structures were put in place, the task of identifying and

        terminating Internet pharmacies was relatively straightforward. With Internet pharmacies, a

        wholesaler could reach the conclusion that a customer presented an unreasonable risk of

        diversion on the basis of objectively verifiable indicia. This is because a site visit and, in some

        instances, even an Internet search would allow a wholesaler to determine that the prescriptions

        filled by an Internet pharmacy were likely to have been obtained pursuant to an illegitimate

        doctor-patient relationship. Several factors could provide objective-and conclusive-evidence

        that the pharmacy was filling illegitimate prescriptions, including: (1) the pharmacy's solicitation

        of buyers of controlled substances via the Internet or (2) its facilitation of the acquisition of

        prescriptions for controlled substances from physicians with whom the buyer had no preexisting

        relationship.

                15. Even when such direct evidence was unavailable, the indicia oflnternet-based

        diversion were often apparent. For example, there would have been no reason-other than the

        pharmacy's willingness to fill illegitimate Internet-based prescriptions-why the following

        indicia should be found at the site of a community pharmacy: (1) numerous boxes used to ship

        controlled substances to patients with whom the pharmacist or doctor could not have interfaced

        in person; (2) unreasonably low number of patients filling prescriptions in person; (3) large

        numbers of computer screens and fax machines at the site of the pharmacy.




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                16. Ultimately, Congress addressed the problem oflnternet pharmacies by enacting the

        Ryan Haight Act. Among other reforms, the Ryan Haight Act (1) required Internet pharmacy

        websites to display information identifying the business, pharmacist, and physician associated

        with the website; and (2) barred the selling or dispensing of prescription drugs via the Internet

        when the website has referred the customer to a doctor who then writes a prescription without

        ever seeing the patient. See Ryan Haight Online Pharmacy Consumer Protection Act of 2008,

        Pub. L. No. 110-425, 122 Stat. 4820, §§ 2-3. These disclosure and regulatory requirements-

        coupled with distributors' independent oversight-significantly undermined the ability of U.S.-

        based Internet pharmacies to divert controlled substances.

                17. As diversion from Internet pharmacies declined, certain medical practices purporting

        to operate as "pain clinics" emerged as a major source of diversion. These "pain clinics" were

        typically not DEA registrants and did not order from distributors directly. Rather, they were

        facilities where one or more DEA-registered doctors used their own DEA registrations to order

        controlled substances from distributors and then dispensed those drugs directly to patients

        pursuant to prescriptions that were not issued in good faith, in the course of professional practice,

        and for a legitimate medical purpose. 2

                18. In June 2010, Florida enacted a law intended to address the illegitimate dispensing of

        controlled substances by pain clinics. The enactment prohibited physicians from "dispens[ing]

        more than a 72-hour supply of a controlled substance ... for any patient who pays for the

        medication by cash, check, or credit card in a [pain management] clinic." Fla. Stat.


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                 To be clear, not all pain management practices operate as described in paragraph 17.
        Many pain management practices are entirely legitimate medical facilities where controlled
        substances are prescribed, dispensed, or administered in good faith, in the course of professional
        practice, and for a legitimate medical purpose. For purposes of this declaration, however, I use
        the term "pain clinic" to refer only to the subset of pain management facilities that operate in the
        illegitimate fashion described in paragraph 17, unless otherwise specified.
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        § 465.0276(1)(b) (2010) (amended by 2011 Fla. Sess. Law Serv. Ch. 2011-141). Under the law,

        physicians were prohibited from dispensing large amounts of controlled substances directly to

        certain patients at pain management facilities. But these physicians still maintained valid DEA

        registrations, which allowed them to continue writing prescriptions for controlled substances. As

        a result, their patients generally shifted to traditional pharmacies for filling their prescriptions.

        The law took effect on October 1, 2010.

                19. In June 2011, Florida further restricted the ability of physicians to dispense controlled

        substances. The 2011 law became effective on July 1, 2011 and barred, with a few exceptions,

        Florida physicians from dispensing Schedule II and Schedule III controlled substances in their

        offices or clinics. Fla. Stat.§ 465.0276(1)(b) (2011) (codifying 2011 Fla. Sess. Law Serv. Ch.

        2011-141).

                B.      Challenges Currently Faced By Distributors In Their Struggle Against
                        Diversion

                20. As a result of the laws enacted by Florida in 2010 and 2011, a large volume of

        demand for controlled substances in Florida migrated from pain management facilities-where

        physicians previously dispensed controlled substances directly to their patients-to ordinary

        brick-and-mortar pharmacies. Notably, because the Florida laws apply to both legitimate pain

        management facilities and illegitimate "pain clinics," only an unknown portion of the volume

        formerly dispensed directly by physicians was the result of illegitimate prescriptions. It thus

        became incumbent on the pharmacists at traditional pharmacies to discern whether the

        prescriptions that migrated to a particular pharmacy were written for an illegitimate medical

        purpose.

                21. The task confronting Florida pharmacists is complex. As DEA has recognized in the

        context of law enforcement, "[a] tremendous challenge ... when dealing with pharmaceutical


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        controlled substances is often distinguishing among legitimate medical uses and illegal uses."

        Resp. Exh. 20 at 2.

                22. The second-order task of wholesale distributors servicing those pharmacies-i.e.,

        detecting diversion from brick-and-mortar pharmacies-is even more challenging. Patient

        privacy concerns preclude prescribing practitioners and dispensing pharmacies from providing

        patients' prescriptions or medical records to distributors. Distributors thus cannot directly

        observe if a valid physician-patient relationship exists because they: (a) cannot be present during

        the physical examination of a patient; (b) do not have access to prescriber records concerning

        that patient; and (c) are not privy to other interactions that take place between those parties as

        they relate to prescribing decisions made for that patient. Furthermore, brick-and-mortar

        pharmacies, unlike Internet pharmacies, rarely offer any direct evidence of the illegitimacy of the

        underlying prescription, such as facilitation of a phony doctor-patient relationship or absence of

        direct contact between the pharmacy and the patient.

                23. Instead, distributors must rely on indirect indicia suggesting that a pharmacist might

        be willing to fill (or unable to detect) an illegitimate prescription if he is presented with one.

        There are of course some indicia that may be consistent with a risk of diversion-for example, a

        high overall volume of sales of controlled substances, a high ratio of controlled substances

        purchased to other prescription drugs, a high incidence of cash payments for controlled

        substances, or the frequent presence of out-of-state vehicles in the pharmacy's or an adjacent

        parking lot. But these factors are rarely conclusive of diversion; in many instances, there are

        legitimate reasons for them. For example, a pharmacy located in close proximity to an oncology

        practice can legitimately be expected to fill larger volumes-and a higher ratio-of controlled

        substances than a pharmacy filling prescriptions written by general practitioners in a small town.



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        Cash payments can legitimately be expected to be more prevalent in an economically depressed

        area, where more patients are uninsured. And out-of-state vehicles are not surprising in the

        proximity of large interstate highways or where tourism is high. In short, wholesale distributors

        attempting to detect diversion at brick-and-mortar pharmacies are often confronted with

        inconclusive-and sometimes inconsistent-evidence.

               C.      Distributors Lack Access To Essential Data And Information To Fight
                       Diversion

               24. In an effort to more effectively meet these challenges, distributors and their trade

        association have asked DEA to provide data that would allow distributors to discern customers

        who are engaged in practices that are indicative of diversion. Specifically, distributors have

        requested information about (1) their customers' aggregate quantities of controlled substances

        and (2) the number of distributors from whom their customers purchase controlled substances.

        See Resp. Exh. 25 at 10; Resp. Exh. 27 at 2. DEA has access to this information because all

        distributors report the distribution of Schedule II controlled substances and Schedule III narcotics

        drugs to DEA through DEA's Automated Reports and Consolidated Orders System ("ARCOS").

        This data would be helpful to distributors because it might, in at least some instances, expose a

        customer's attempt to elude its distributors' control systems. To avoid any objectionable sharing

        of confidential trade information, the data could be blinded so that the wholesaler that receives

        the data would not be able to determine which specific other wholesalers were supplying specific

        customers.

               25. The distributor trade association has asked for this information, but DEA has declined

        to provide it, at least in part on the ground that it is confidential business information. DEA has,

        however, shared similar data with manufacturers. I understand that, at a recent meeting,

        Mallinckrodt, a manufacturer of pharmaceuticals including oxycodone, indicated that the


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        material that it had provided to Cardinal Health and other wholesalers in the past was ARCOS

        data provided to it by DEA.

               26. Recent cooperation between Mallinckrodt and Cardinal Health demonstrates the

        benefits of information-sharing. In the fall of 2011, Mallinckrodt provided Cardinal Health with

        information suggesting that certain Cardinal Health pharmacy customers were purchasing

        oxycodone drugs from multiple distributors. In response to this information, Cardinal Health

        reviewed the customers Mallinckrodt identified. The new information enabled Cardinal Health

        to identify when a customer was being deceitful by indicating it did not purchase controlled

        substances from other suppliers. At my request, Mallinckrodt agreed to continue cooperating

        with Cardinal Health.

               27. While the data provided by Mallinckrodt is a helpful step in the right direction, it

        cannot substitute for the more complete ARCOS data possessed by DEA Unlike Mallinckrodt's

        sales data, DEA's ARCOS data covers all manufacturers. Blinded ARCOS data would thus

        permit Cardinal Health to obtain a complete picture of all the controlled substances ordered by

        Cardinal Health's pharmacy customers.

               28. In October 2011, Cardinal Health's Chief Legal and Compliance Officer also

        requested that DEA provide Cardinal Health with any information it possessed indicating that

        any Cardinal Health customer was engaged in diversion. Cardinal Health promised immediately

        to cease distributing controlled substances to any customer DEA so identified. See Resp. Exh.

        35. In December 2011, Cardinal Health again requested, through its outside counsel, that DEA

        inform Cardinal Health of any Cardinal Health customer that DEA believes is likely engaged in

        diversion. See Resp. Exh. 36.




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               29. DEA declined to provide the requested information. In the past, however, DEA had

        initiated this type of cooperation. On at least one occasion, DEA had recommended that

        Cardinal Health investigate a specific pharmacy. In July 2011, DEA Group Supervisor Ruth

        Carter advised me that Cardinal Health should investigate a pharmacy in Alaska that she

        specifically identified. I personally undertook the suggested investigation. In an e-mail to Ms.

        Carter dated October 18, 2011, I described my visit to the pharmacy and explained why I had

        concluded that the pharmacy presented a low risk of diversion. See Resp. Exh. 29.

        III.   Cardinal Health's Anti-Diversion Efforts

               30. Cardinal Health is committed to preventing diversion of controlled substances. After

        the 2007 DEA enforcement actions against it, Cardinal Health recognized that it needed to

        improve its systems for identifying and preventing diversion of controlled substances into other

        than legitimate medical channels. Through investment, innovation, and training, Cardinal Health

        has built a robust real-time monitoring and investigation program.

               31. I am the principal architect of Cardinal Health's suspicious order monitoring

        ("SOM") system. There are three primary components to the system: the "Know Your

        Customer" ("KYC") component, electronic monitoring of controlled substances orders, and

        investigations of customers. The first two components are the subject of testimony from other

        Cardinal Health witnesses. I will discuss the site visits conducted by Cardinal Health as part of

        the investigations component as well as Cardinal Health's reporting of suspicious orders. Select

        standard operating procedures describing Cardinal Health's SOM system are provided in Resp.

        Exh. 40.

               A.      On-Site Investigations

               32. Historically, most site visits conducted by Cardinal Health have involved retail

        independent pharmacies. When a QRA pharmacist refers a retail independent pharmacy

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        customer for an on-site investigation, a QRA investigator is tasked with conducting the site visit.

        Cardinal Health's QRA investigators are trained in conducting such interviews, and most of them

        have law enforcement or regulatory investigation experience.

               33. In preparation for the site visit, the QRA investigators are expected to review the

        customer's due diligence file in detail. This preparatory work may also include consultation of

        publicly available information about the pharmacy, its owner, and the locality in which the

        pharmacy is located.

               34. Once on site, the QRA investigator conducts the investigation and updates the

        information about the customer using an investigative questionnaire that is based upon the

        "Know Your Customer Questionnaire." The investigator typically also interviews the

        pharmacist in charge of the pharmacy and/or, infrequently, the owner of the pharmacy, to the

        extent the owner is not himself or herself a pharmacist. This interview is aimed at collecting

        information that may be germane to the assessment of potential diversion.

               35. In addition, Cardinal Health's QRA investigators consider a variety of additional

        factors, which may include, but are not limited to:

               •   the volume of controlled substances ordered;

               •   the methods of payment accepted by the customer;

               •   the incidence of various methods of payments;

               •   the percentage of transactions that do not include some form of third-party payment;

               •   the percentage of Schedule II controlled substances dispensed relative to all

                   controlled substances;

               •   the percentage of controlled substances dispensed relative to non-controlled

                   substances;


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               •   the pharmacy's actual drug dispensing history; and

               •   the location, specialty, and disciplinary history of the top prescribers of controlled

                   substances whose prescriptions are filled by the pharmacy.

               36. The investigator makes a recommendation to the head of the QRA investigations

        team and files an investigative report in the customer's QRA file. Under the current rating

        system, investigators recommend that QRA review the customer in 12 months, 3 months, or

        immediately; under the rating system used by Cardinal Health until recently, investigators

        recommended that the customer be classified as a low, medium, or high risk of diversion.

        Customers are not informed of the content of the investigative report or of the QRA

        investigator's recommended rating.

               37. When an investigator's report and/or recommendation requires additional review,

        they are reviewed by a QRA pharmacist. The QRA pharmacist may approve the rating

        recommended by the investigator, may request additional information from the pharmacy, may

        request an additional site visit, may reject the investigator's recommendation, or may take a

        combination of any of these actions.

               38. For chain pharmacies, Cardinal Health's policy historically has been to rely on the

        chain's corporate office to provide information in response to investigations. That is because

        these chain pharmacies pose different levels of risk of diversion from retail independent

        pharmacies. A pharmacist at a chain store generally does not directly share in the pharmacy's

        profits and thus does not have the same financial incentives as a retail independent pharmacist

        when filling prescriptions. Furthermore, chain pharmacies can reasonably be assumed to have

        greater safeguards in place to monitor and prevent potential diversion, such as anti-diversion and




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        loss prevention programs. These chains include the likes ofWalgreens, CVS, or Kroger-very

        large companies with the resources and incentives to try to prevent diversion.

               39. As a result of these differences, it is not uncommon for wholesale distributors to

        employ similar but somewhat distinct procedures for chain pharmacies and retail independent

        pharmacies. For example, on September 11, 2007, DEA sponsored a presentation of an

        exemplary anti-diversion system by another distributor in which the presenter noted that the

        distributor did not conduct due diligence when opening accounts for individual chain

        pharmacies. DEA reported that feature of this model system on its website. See Resp. Exh. 14 at

        7; Resp. Exh. 15 at 2.

               40. DEA' s own enforcement history confirms the reasonableness of applying similar but

        distinct due diligence models to chain pharmacies and independent retailers. When DEA took

        action against CVS 219 and 5195, DEA officials were quoted as saying that those ISOs were the

        first time stores in a national pharmacy chain had been the targets of suspension orders used to

        combat Florida's prescription drug abuse problem. See Resp. Exh. 72 (quoting Mark Trouville,

        Special Agent in Charge ofDEA's Miami field office).

               41. Recently, however, Cardinal Health has begun conducting site visits at chain

        pharmacies when deemed appropriate. In some instances, site visits to chain pharmacies will be

        similar to the site visits traditionally conducted by Cardinal Health's QRA investigators at

        independent retail pharmacies, which I have already described herein. In other instances, site

        visits to chain pharmacies will be conducted without making the pharmacy personnel aware of

        the purpose of the investigator's presence. This type of visit is intended to provide information

        to Cardinal Health that is used to supplement the information that Cardinal Health receives about

        the store from the chain pharmacy's corporate office.



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               B.      Suspicious Order Reporting And DEA's Knowledge Thereof

               42. When a customer's order for controlled substances would exceed a monthly

        threshold, Cardinal Health's policy is to hold the order and refer it to a QRA pharmacist for

        detailed review. Similarly, when an order is flagged as an "Order oflnterest" for any other

        reason, that order is referred to the QRA pharmacist for detailed review. Until recently, it was

        Cardinal Health's policy to report orders as suspicious only after a QRA pharmacist had

        conducted a detailed review and concluded the order was truly "suspicious."

               43. In early 2009, DEA inspected several distribution centers and reviewed Cardinal

        Health's SOM program under Cardinal Health's 2008 MOA with DEA As part of this process,

        in January 2009, I met with employees of DEA, including Barbara Boockholdt, Chief,

        Regulatory Sections, Office of Diversion Control, to show them the SOM system. Ms.

        Boockholdt has been the designated DEA point of contact for matters relating to the MOA. My

        team and I explained to DEA personnel how Cardinal Health reported suspicious orders under its

        system-whereby orders are reported to DEA only if the QRA department concludes that the

        order is truly "suspicious" following a detailed investigation. DEA officials raised no objections

        to Cardinal Health's approach to suspicious order reporting during this meeting.

               44. Cardinal Health's reliance on the professional judgment and detailed review of

        trained QRA pharmacists-as opposed to rigid formulas-to identify suspicious orders is

        consistent with DEA's directives. DEA has advised distributors against deluging DEA with

        reports of orders that are simply large. See Resp. Exh. 10 at 2; Resp. Exh. 12, slide 9. Because

        Cardinal Health's approach entailed a detailed review by QRA pharmacists, it was less likely to

        result in large numbers of false positives. Moreover, a presentation by Staff Coordinator

        Leonard Levin noted that a distributor should never fill a suspicious order. See Resp. Exh. 12,

        slide 9. It would seem inconsistent with Mr. Levin's instruction to implement a system where

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        orders that have been held pending investigation are immediately reported as suspicious and yet

        may later be released to the customer upon detailed review. Finally, Cardinal Health's approach

        is consistent with DEA's assertions that the decision to ship an order rests with the distributors,

        and that distributors must define their own parameters for suspicious orders. See, e.g., id, slide

        10.

                45. Since learning ofDEA's investigation, Cardinal Health has reviewed its process for

        detecting and reporting suspicious orders. Out of an abundance of caution, Cardinal Health has

        recently implemented a modification of its suspicious order reporting process, which has resulted

        in increased reporting of suspicious orders.

                C.     Effectiveness of Cardinal Health's Controls

                46. Cardinal Health's controls have been effective. Cardinal Health has terminated

        hundreds of pharmacies it concluded posed an unreasonable risk of diversion. Many customers

        to which Cardinal Health suspended shipments of controlled substances retain their DEA

        registrations. Moreover, DEA' s own data reveals that Cardinal Health's statewide distribution of

        oxycodone to Florida pharmacies has not been unusually large. According to data presented by

        DEA in the ISO-related district court proceedings, the average sales of oxycodone to Cardinal

        Health's Florida pharmacy customers (other than the four pharmacies named in the February 2

        Order) were significantly smaller than the average amount of oxycodone purchased by a Florida

        pharmacy. See Resp. Exh. 60; see also Resp. Exh. 37 (showing that Cardinal Health was the

        second largest distributor of oxycodone in Florida, and that its distribution of oxycodone in

        Florida was not significantly greater than that of the third largest distributor).




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        IV.    Cardinal Health's Anti-Diversion Efforts In Florida And The Four Named
               Pharmacies

               A.      Targeted Attention To Florida In 2009-2010

               47. Cardinal Health has recognized that the problem of controlled substance diversion is

        particularly acute in Florida. In 2009, Cardinal Health conducted an in-depth analysis of its

        customers located in Broward, Dade, and Palm Beach Counties-the areas that, at the time,

        comprised the epicenter of the diversion problem in Florida. This detailed analysis was

        conducted using a combination of analytics and traditional investigative techniques. Cardinal

        Health applied a quantitative model to identify pharmacies that were considered at highest risk of

        potential diversion and then took appropriate action.

               48. Then, in the fall of 2010, I met with Ms. Boockholdt of DEA and she indicated that

        she believed Cardinal Health should review its Florida customers because of the growing

        diversion problem in Florida. Cardinal Health had already planned to investigate four of its

        largest retail independent pharmacy customers in Florida. Based on this information from Ms.

        Boockholdt, Cardinal Health performed site visits at an additional 49 of those customers in

        October 2010. These customers were identified using Cardinal Health's advanced analytics.

        This "blitz" involved not only Cardinal Health's core team of investigators, but also senior QRA

        pharmacists. As a result of these site visits that occurred in October 2010, Cardinal Health

        ceased distributing controlled substances to five customers. The decision to terminate these

        customer accounts was reported to DEA and the Florida Board of Pharmacy.

               B.      Efforts Specific To The Four Pharmacies

               49. DEA's February 2, 2012 order to show cause and immediate suspension order

        ("February 2 Order") and DEA's Prehearing Statement assert that Cardinal Health's sales of

        controlled substances to two independent retail pharmacies (Caremed Health Corp. ("Caremed")


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        and Gulf Coast Medical Pharmacy ("Gulf Coast")) and to two CVS pharmacies (store 219 and

        store 5195) support DEA' s conclusion that continued registration of the Lakeland facility is

        inconsistent with the public interest. As described in more detail below, however, these past

        sales do not reflect a failure to conduct meaningful due diligence. For each store, Cardinal

        Health monitored purchases of oxycodone and conducted investigations to attempt to determine

        whether controlled substances were being diverted into other than legitimate medical channels.

        When Cardinal Health discovered evidence that signaled that it could no longer conclude that

        controlled substances it distributed to the two independent retail pharmacies were not likely to be

        diverted into illegitimate channels, it terminated distribution of controlled substances to those

        pharmacies. Indeed, Cardinal Health had already ceased distributing to both Caremed and Gulf

        Coast (on September 26, 2011 and October 5, 2011, respectively) prior to the issuance ofDEA's

        Administrative Inspection Warrant ("AIW") on October 25, 2011. See Resp. Exh. 73 (Caremed

        termination); Resp. Exh. 74 (Gulf Coast termination); Resp. Exh. 75 (AIW). And when DEA

        indicated that it believed that CVS stores 219 and 5195 posed an unreasonable risk of potential

        diversion-by including them in the February 2 Order-Cardinal Health terminated distribution

        of controlled substances to those stores as well within hours of the Order being served.

                           1. Caremed

               50. In November 2008, the co-owner and pharmacist in charge of Caremed filled out

        Cardinal Health's KYC form, and answered all questions satisfactorily. See Resp. Exh. 42 at

        135-141.

               51. In response to a threshold event in January 2010, Cardinal Health's QRA pharmacist

        reviewed and approved Caremed's ordering history. See Resp. Exh. 42 at 119. Based on his

        review, the QRA pharmacist concluded that Caremed's January 2010 order was "not

        unreasonable" and requested a site visit to verify the growth in Caremed's order history.

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               52. While the request for a site visit was pending, Caremed placed orders that triggered

        threshold events in late February and late March 2010. See Resp. Exh. 79 at 2; see also Resp.

        Exh. 42 at 97, 117-118. The QRA record reflects that, while the March 2010 order was being

        held, QRA' s Director of Supply Chain Integrity and Regulatory Operations, Steve Morse,

        discussed the growth in Caremed's ordering of controlled substances with Caremed's pharmacist

        in charge. See Resp. Exh. 42 at 106. Following up on that conversation, Caremed's pharmacist

        in charge faxed a letter to Mr. Morse stating the reasons for increased controlled substances

        threshold limits. See Resp. Exh. 42 at 106. In that letter, the pharmacist explained that many

        stores in the area, Bonita Springs, Florida, had stopped carrying controlled substances, that many

        physicians were requiring patients to use only one pharmacy for controlled substances, and that

        those physicians were referring their patients to Caremed because it specialized in pain

        management. See Resp. Exh. 42 at 106. The pharmacist also reported that Cardinal Health and

        another distributor, API, were the pharmacy's primary sources for controlled substances. Along

        with the letter, the pharmacist submitted a drug dispensing report reflecting the pharmacy's

        dispensing data. See Resp. Exh. 42 at 107-116. Cardinal Health's SOM data reflects that, two

        weeks later, Caremed's threshold was raised from 26,000 dosage units per month to 32,001

        dosage units of oxycodone per month because "customer supplied dispense data." Resp. Exh.

        76. The same SOM entry also reflects that a "site visit [had been] scheduled." Id.

               53. In May 2010, Cardinal Health's QRA investigator performed an on-site visit. The

        visit confirmed prior reports that the pharmacy is located "[i]nside the Bonita Community Health

        Center, on the lst floor lobby[.]" See Resp. Exh. 42 at 93. The investigator also obtained a drug

        dispensing report covering the period from May 2009 through April 2010. See Resp. Exh. 42 at

        76-81. The site visit report shows that Caremed reported filling, on average, 150 prescriptions



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        per day at the time of the site visit, but up to 250 "when winter residents are here." See Resp.

        Exh. 42 at 94. The percentage of cash sales was only 5%. See Resp. Exh. 42 at 95. The percent

        of controlled substances prescriptions was about 40% for the pharmacy, which the pharmacist in

        charge explained on the ground that the majority ofresidents were elderly with injuries or

        cancer. See Resp. Exh. 42 at 94. The investigator concluded that the pharmacy posed a low risk

        of diversion because the substantial elderly population served by the pharmacy justified the

        volume of its oxycodone prescriptions. See Resp. Exh. 42 at 73.

               54. When Caremed's monthly purchases of oxycodone increased between June 2010 and

        December 2010, Cardinal Health's QRA pharmacist initially approved three threshold

        adjustments, since a "site visit [had been] completed" in recent months with "no evidence of

        diversion" and Caremed had been "rated low risk" by Cardinal Health's investigators. Resp.

        Exh. 76. As the increases continued, however, the QRA department took action to investigate: It

        first obtained a drug dispensing report in November 2010, Resp. Exh. 42 at 51-53, and then sent

        an on-site investigator to the pharmacy on January 13, 2011, id. at 32. In connection with the

        site visit, the investigator obtained another drug dispensing report. Resp. Exh. 42 at 41-48. The

        pharmacy reported that 35% of its total number of prescriptions were for controlled substances,

        and only 10% of its prescriptions were paid for in cash. Resp. Exh. 42 at 36-37. The

        investigator, therefore, indicated that Caremed was a low risk for diversion. Resp. Exh. 42 at 32.

               55. Following the site visit in January 2011 that resulted in a "low risk" ranking, Cardinal

        Health raised Caremed's threshold on February 9, 2011, and concluded, after review by the QRA

        pharmacist, that a few subsequent orders that exceeded thresholds were not unreasonable. See

        Resp. Exhs. 76, 79.




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               56. In September 2011, however, Cardinal Health conducted another site visit. During

        the September 2011 inspection, the Cardinal Health investigator discovered that the pharmacy

        was not actually filling any oxycodone prescriptions issued by the pain management physicians

        located in the same building. See Resp. Exh. 42 at 21. In addition, the investigation revealed

        that cash sales had risen to 40% of total sales and that controlled substance sales had risen to

        45% of total sales. See Resp. Exh. 42 at 21. Cardinal Health thus could no longer conclude that

        the controlled substances it distributed to the pharmacy were not likely to be diverted.

               57. Cardinal Health terminated sales of controlled substances to Caremed on September

        26, 2011, well before DEA's administrative inspection of Cardinal Health. See Resp. Exh. 73.

        Cardinal Health immediately reported the suspension of sales to DEA See Resp. Exh. 73.

                           2. Gulf Coast

               58. In June 2008, the owner of Gulf Coast filled out Cardinal Health's KYC

        questionnaire, and answered all questions satisfactorily. See Resp. Exh. 43 at 156-162.

               59. Cardinal Health compliance personnel conducted site visits of the pharmacy in

        August 2008, April 2009, December 2009, October 2010, and February 2011. At each

        inspection, the pharmacy provided legitimate reasons for the quantities of controlled substances

        it purchased from Cardinal Health.

               60. Cardinal Heal th' s QRA department conducted its first site visit of Gulf Coast in

        August 2008, shortly after a threshold event. See Resp. Exh. 43 at 141-147; 154-155. The site

        visit report indicates that Gulf Coast filled an average of 300 prescriptions per day and that it was

        located "inside a medical office building, next to a hospital and two other medical office

        buildings, all in one large parking area." Resp. Exh. 43 at 145. It also reported that several

        hundred physicians in all specialized fields operated within the complex and that the hospital had

        permitted the pharmacist in charge to place pharmacy flyers in all the rooms. See Resp. Exh. 43

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        at 145. The site visit report also noted that nurses reportedly brought outpatients from the

        medical facility to the pharmacy to pick up their prescriptions. See Resp. Exh. 43 at 145.

               61. In mid-April 2009, a threshold event caused the QRA pharmacist to review the file

        and conclude that the threshold for Gulf Coast could not be raised without a site visit. See Resp.

        Exh. 43 at 128-131. The pharmacy owner reached out to Cardinal Health, explaining, among

        other things, that the medical facility where the pharmacy was located had increased from 100

        beds to 400 beds. See Resp. Exh. 43 at 129.

               62. The QRA investigator conducted a site visit at the end of April 2009. He confirmed

        that there had been a tremendous growth within the hospital and the surrounding medical clinics

        within the complex. See Resp. Exh. 43 at 117-123. The investigator noted that the high

        incidence of controlled substance sales he observed at the pharmacy was "due to [the] hospital

        and 3 pain clinics in [the] office building." See Resp. Exh. 43 at 117. He also reported that,

        during the pre-visit investigation, he learned from Cardinal Health's salesperson in charge of the

        account, Lenny Moro, that Mr. Moro had learned some troubling hearsay about Gulf Coast from

        a competitor. Resp. Exh. 43 at 117, 122, 143. The Cardinal Health investigator, however, did

        not find any concrete evidence of a problem. See Resp. Exh. 43 at 123. Nonetheless, he

        contacted a local DEA Diversion Investigator and informed him of what he had found. Resp.

        Exh. 43 at 123. The local DEA Diversion Investigator, Kenneth Boggess, told the Cardinal

        Health investigator that he would follow up and review the pharmacy's prescriptions, see Resp.

        Exh. 43 at 123-an investigative tool that is not available to Cardinal Health. I assume that

        Investigator Boggess would have informed Cardinal Health if DEA had concluded that this

        pharmacy presented a problem. Cardinal Health did not hear back from the DEA Investigator.




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               63. On October 5, 2010, Cardinal Health conducted another site visit of Gulf Coast. Prior

        to the visit, the owner of Gulf Coast had explained that, given the location of the pharmacy, its

        ordering pattern changed depending upon the patient population. See Resp. Exh. 43 at 57.

        Cardinal Health had also been informed that a pain management doctor, Dr. Kenneth Galang,

        had recently opened a practice in the vicinity of the pharmacy. See Resp. Exh. 43 at 57.

        Cardinal Health had researched the background of this physician and verified that he held a valid

        DEA registration and had no disciplinary record or public complaint on file. See Resp. Exh. 43

        at 48, 50. The physician was listed in the site visit report as one of the primary prescribers of

        controlled substances dispensed by the pharmacy. Resp. Exh. 43 at 30.

               64. At the same time, the visit raised some questions. The QRA investigator, Vincent

        Moellering, ranked the pharmacy as presenting a high risk of diversion. That ranking appeared

        to be based on two primary factors. First, the site visit report indicated that the salesperson in

        charge of Gulf Coast's account, Lenny Moro, had seen groups of young people in their 20s and

        30s arrive at the pharmacy to have prescriptions filled. See Resp. Exh. 43 at 31. Mr.

        Moellering's notes, however, indicate that he observed only "one group of three young

        customers who came in together and left the pharmacy together (2 males and 1 female)" during

        his visit. See Resp. Exh. 43 at 32. Cardinal Health had no way to know whether the

        prescriptions filled by any particular customer were for controlled substances. Moreover, I

        understand that Steve Morse, Mr. Moellering' s supervisor, visited the pharmacy twice and did

        not see this type of activity. Second, Mr. Moellering raised a concern that Gulf Coast's assertion

        that it filled prescriptions only for local customers was not true. He proposed contacting DEA to

        resolve this issue. See Resp. Exh. 43 at 32. Contacting DEA would not likely have helped

        resolve Mr. Moellering' s concern about out-of-area patients. DEA does not receive data in the



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        ordinary course on the addresses of pharmacies' patients, and DEA would not have shared with

        Cardinal Health any patient data it did have. Nor could Cardinal Health have acquired that data

        directly from the pharmacy because of patient privacy concerns.

               65. The October 5, 2010 site visit thus raised some potential concerns but did not appear

        to be dispositive. Cardinal Health decided to obtain from Gulf Coast a list of its top prescribers

        and verify that those prescribers were local to the pharmacy's area. Resp. Exh. 43 at 25-26.

        Based on his review of the prescriber list provided by Gulf Coast, Steve Morse concluded that

        the primary prescribers of controlled substances were local, with the exception of one orthopedic

        surgeon. Resp. Exh. 43 at 25. On the basis of this information, Mr. Morse concluded in

        November 2010 that Mr. Moellering's "high risk" recommendation was not warranted and that a

        "medium risk" assessment was more appropriate. Cardinal Health marked the pharmacy for

        closer monitoring. See Resp. Exh. 43 at 25.

               66. In February 2011, Steve Morse conducted a follow-up site visit to Gulf Coast. See

        Resp. Exh. 43 at 22. According to Mr. Morse's report, Gulf Coast represented that it vetted

        prescribers of controlled substances as follows:

               •   Checks licensure through the Florida Department of Health website and searches for

                   disciplinary actions;

               •   Checks DEA registration numbers through DEA's website or one linked to DEA's

                   information;

               •   Checks addresses and phone numbers of practitioners through 411 reverse directory;

               •   Verifies all Schedule II controlled substances prescriptions with the prescribing

                   practitioner; and

               •   Limits sales of controlled substances to prescribers located in Lee County.


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        See Resp. Exh. 43 at 22.

               67. The owner of Gulf Coast also informed Mr. Morse that he filled prescriptions for

        controlled substances only for Lee County residents, with the exception of patients discharged

        from the emergency room. See Resp. Exh. 43 at 22.

               68. Cardinal Health also received a letter dated February 8, 2011 from Dr. Andrew Esch,

        a palliative care specialist who had joined the Lee Memorial Health System as Medical Director

        of the Q-Life program in September 2010. See Resp. Exh. 43 at 23. The letter stated that Dr.

        Esch "will be sending [his] patients exclusively to Jeff Green at Gulf Coast Medical Pharmacy."

        Resp. Exh. 43 at 23. Accordingly, Dr. Esch stated that he "will need all C2, C3, C4 and CS

        brands available at our exposure for all four hospitals and our outpatient clinic for Lee County

        area." Resp. Exh. 43 at 23.

               69. In the fall of 2011, Mallinckrodt communicated to Cardinal Health that it had decided

        to discontinue chargebacks for sales to the pharmacy. Mallinckrodt's report prompted a

        reassessment by the QRA team of information about Gulf Coast that Cardinal Health had

        obtained through prior investigations, as well as a review of recent purchasing data on the

        pharmacy. Cardinal Health also obtained information from Mallinckrodt indicating that the

        pharmacy had purchased more oxycodone than Cardinal Health had sold to it. It thus appeared

        that Gulf Coast was purchasing oxycodone from another distributor as well.

               70. Around the same time, Cardinal Health came to doubt the truthfulness of other

        representations made by the owner of Gulf Coast. The owner of Gulf Coast had suggested to

        Cardinal Health's QRA investigators that the Sheriffs Office had supported the consolidation of

        controlled substances prescriptions from the four Lee Memorial Health System facilities through

        Gulf Coast. Cardinal Health requested that Gulf Coast provide verification of any such support.



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        In response, the pharmacy provided a letter from the local Sheriff's Office. Resp. Exh. 43 at 18-

        19. That letter, however, did not address the issue raised by Cardinal Health. Cardinal Health

        concluded that it could no longer trust the information provided by Gulf Coast. Cardinal Health

        terminated sales of controlled substances to the pharmacy on October 5, 2011, well before

        DEA's administrative inspection, and reported that termination to DEA. Resp. Exh. 74.

                           3. CVS 219 and CVS 5195

               71. Cardinal Health conducted appropriate due diligence with respect to CVS stores 219

        and 5195.

               72. Cardinal Health repeatedly investigated, through CVS's pharmacists in charge and

        through CVS' s corporate offices, orders for controlled substances placed by CVS 219 and CVS

        5195. 3 See generally Resp. Exh. 44; Resp. Exhs. 52, 53 (containing examples ofreview of

        threshold events relating to CVS 219 and CVS 5195). For example, Cardinal Health initiated the

        following inquiries:

               •    In March 2009, CVS 219 placed an order that Cardinal Health's Compliance Officer

                    for the Lakeland facility believed warranted additional review. A conversation with

                    the pharmacist in charge at CVS 219 revealed that the order was in fact a mistake.

                    See Resp. Exh. 47.


        3
                 CVS does not order all of its prescription drugs from Cardinal Health because CVS is
        self-warehousing. Self-warehousing means that CVS owns and operates its own warehouse from
        which it distributes products other than Schedule II drugs and certain branded drugs to its retail
        pharmacy locations. Cardinal Health regularly supplies CVS with Schedule II controlled
        substances and limited branded prescription drugs. Occasionally, CVS will order other drugs,
        including Schedule III-V controlled substances, from Cardinal Health on an as-needed basis; but
        CVS typically obtains these products from another source. Therefore, Cardinal Health's
        distribution of drugs to CVS tends to be heavily weighted toward Schedule II controlled
        substances, and the proportion of Schedule II controlled substances in relation to all
        pharmaceutical products delivered by Cardinal to CVS tends to be greater than with other
        pharmacies by virtue of the meaningful self-distribution by CVS of non-controlled medications
        to its stores.
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               •   In June 2009, a Cardinal Health representative reached out twice to a CVS

                   representative in response to certain orders placed by CVS 219 and as a follow-up to

                   conversations the Cardinal Health representative had with the pharmacist in charge of

                   CVS 219. The CVS representative inquired with CVS's loss prevention department,

                   which reported that the orders placed by CVS 219 were consistent with the

                   pharmacy's dispensing. See Resp. Exh. 48.

               •   In January 2010, a Cardinal Health representative inquired with the pharmacist in

                   charge of CVS 219 in connection with pending orders for oxycodone products. See

                   Resp. Exh. 49. As part of that conversation, the Cardinal Health representative

                   discussed the obligations of the pharmacist with respect to filling prescriptions for

                   controlled substances. See Resp. Exh. 49. On the same day, the Cardinal Health

                   representative also followed up on her conversation with the pharmacist in charge by

                   inquiring with a CVS representative. See Resp. Exh. 50. The CVS representative

                   responded approximately two weeks later and reported that CVS's loss prevention

                   department had approved those orders. See Resp. Exh. 50.

               73. In the late summer or early fall of 2010, Cardinal Health identified through its SOM

        program oxycodone ordering patterns at several CVS stores in Florida, including the two CVS

        stores named in the ISO, that warranted explanation. At a meeting with CVS I attended in late

        August 2010, Cardinal Health communicated to CVS its concerns. CVS indicated it would look

        into the matter. In response, CVS informed Cardinal Health that its loss prevention department

        had reviewed the stores' activities and that it had been closely monitoring store CVS 219 for a

        couple of weeks. See Resp. Exh. 51. CVS' s loss prevention department also reported that none

        of the stores at issue had showed significant shifts in their ordering patterns. See Resp. Exh. 51.



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        CVS also noted that the company had a new attorney working with DEA on diversion-related

        issues. See Resp. Exh. 51. CVS explained that Florida had been cracking down on illegitimate

        pain clinics and that those efforts were having the effect of driving legitimate demand for

        controlled substances to the CVS stores. See Resp. Exh. 51.

               74. Around the same time, in October 2010, Cardinal Health was conducting the

        widespread investigation of independent retail pharmacies I described earlier in this declaration.

        See ,-r 48. As a result, several QRA employees-including QRA pharmacist Christopher Forst-

        were conducting site visits in Florida. While it was not Cardinal Health's policy to conduct

        investigative site visits at chain pharmacies such as CVS, I asked Christopher Forst to conduct a

        visit of store CVS 219. See Resp. Exh. 54. In response to my inquiry, Mr. Forst confirmed that

        there were no signs of diversion at CVS 219:

                         Yes, nothing, not one car from out of state. The only thing I did
                         notice is that they are located on the corner of a shopping area that
                         contained a large grocery store that looks like it had recently
                         closed. This store had a pharmacy inside of it. Maybe I was there
                         at the wrong time, it was around 2 p.m. I think Vince needs to do a
                         couple drive by's on a Tuesday or Wednesday. Monday didn't
                         seem abnormal and the customers inside were appropriate for the
                         area. I will say this store did have a lot of personnel in the
                         pharmacy department. More than I have seen in any of the other
                         CVSs I have visited.

        Resp. Exh. 54.

               75. Cardinal Health continued to work diligently with CVS to investigate the ordering of

        controlled substances by certain CVS Florida stores. On December 2, 2010, I attended a

        subsequent meeting with CVS to discuss Cardinal Health's concerns about the volume of

        controlled substances ordered by certain CVS pharmacies. On January 6, 2011, CVS sent

        Cardinal Health a letter outlining its investigation of additional Florida CVS stores we had

        identified. See Resp. Exh. 55 at 1. The letter informed Cardinal Health that "CVS [had]


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        undertaken actions to address [Cardinal Health's] concerns about those specific pharmacies and

        to address suspicious ordering and dispensing generally." Resp. Exh. 55 at 1. The letter also

        informed Cardinal Health that "CVS [had] distributed guidelines that reinforce the company's

        position that pharmacists use their professional judgment when determining whether to fill

        prescriptions. The guidelines identify inappropriate prescription-seeking behavior and advise

        pharmacists how to minimize risk of dispensing for other than legitimate prescriptions." Resp.

        Exh. 55 at 1. In the letter, CVS reported that "CVS representatives also met with Drug

        Enforcement Administration and Florida Department of Health investigators regarding

        dispensing issues in Florida." Resp. Exh. 55 at 1.

               76. The letter also identified CVS' s investigations of specific Florida stores, noting that

        teams of CVS Pharmacy Supervisors and Regional Loss Prevention Managers had visited several

        CVS Florida stores, interviewed pharmacy staff, and reviewed controlled substance ordering,

        receiving and dispensing procedures, controlled substance records and reports, and security. See

        Resp. Exh. 55 at 1. The letter reported that the teams had "found no evidence of controlled

        substance diversion or significant losses." See Resp. Exh. 55 at l. It concluded that CVS was

        "confident that pharmacists and their staffs at these pharmacies understand how to minimize the

        risk of dispensing controlled substances, particularly opioids for pain management, for non-

        legitimate purposes." See Resp. Exh. 55 at l. The letter then assured Cardinal Health that CVS

        was "comfortable with Cardinal continuing to ship controlled substances to these pharmacies."

        See Resp. Exh. 55 at 2.

               77. On October 12, 2011, I received further reassurances from CVS that its corporate

        office had investigated CVS's Florida locations, including one of the locations mentioned in the

        ISO. In an email following up on a prior conversation, Karen Gibbs of CVS informed me:



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                         As we discussed, our field management undertook a thorough
                         review of Stores 5146, 5195 and 2848. I spoke with each team
                         after the review. They did not find evidence of diversion,
                         fraudulent prescriptions, or other inappropriate activity. We feel
                         comfortable that Cardinal can continue its oxycodone shipments to
                         these stores.

        Resp. Exh. 56.

               78. On October 18, 2011, DEA served AIWs on CVS 219 and CVS 5195. On October

        26, 2011, DEA served an AIW on Cardinal Health's Lakeland facility. This inquiry prompted

        Cardinal Health to review its prior reliance on CVS' investigations of CVS 219 and CVS 5195,

        and to take further action. For example, in November and December 2011, Cardinal Health

        significantly lowered the thresholds applicable for CVS 219's and CVS 5195's oxycodone

        purchases.

               79. Moreover, in the fall of 2011, CVS had decided to stop filling prescriptions for

        Schedule II controlled substances written by 22 Florida doctors. Resp. Exh. 57 (news article

        regarding termination of doctors). This decision became effective on November 21, 2011. Resp.

        Exh. 58,   iJ 32 (sworn declaration of CVS employee).   See generally Resp. Exh. 59,   iJ 22 (sworn
        declaration of CVS employee). DEA was informed of this decision before that date. See Resp.

        Exh. 77 (email from CVS's counsel to Barbara Boockholdt). Based on information provided by

        CVS at the time, these 22 doctors had accounted for at least 64% of the oxycodone prescriptions

        filled by CVS 219 and CVS 5195 between May 2011 and October 2011. According to a sworn

        declaration submitted by CVS in federal court, during the longer period of January 1, 2011

        through November 21, 2011, these 22 physicians accounted for 69% and 71 % of the oxycodone

        prescriptions filled by CVS 219 and CVS 5195, respectively. See Resp. Exh. 78, iii! 7-8.

               80. The volume of oxycodone ordered by CVS 219 and CVS 5195 in October,

        November, and December dropped precipitously:


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               •   CVS Store 219, according to ARCOS information disclosed by DEA in related court

                   proceedings, received from the Lakeland facility about 247,000 dosage units of

                   oxycodone in August 2011, about 234,000 dosage units in September 2011, about

                   159,000 dosage units in October 2011, about 42,000 dosage units in November 2011,

                   and about 37,000 dosage units in December 2011; and

               •   CVS Store 5195, according to ARCOS information disclosed by DEA in related court

                   proceedings, received from the Lakeland facility about 126,000 dosage units of

                   oxycodone in August 2011, about 112,000 dosage units in September 2011, about

                   63,000 dosage units in October 2011, about 15,000 dosage units in November 2011,

                   and about 10,000 dosage units in December 2011.

        Resp. Exhs. 45-46.

               81. On February 3, 2012, DEA served its February 2 Order on the Lakeland facility. See

        Resp. Exh. 63. The February 2 Order identified CVS 219 and CVS 5195 among the four stores

        that DEA believed had been "engaged in a scheme to distribute controlled substances based on

        purported prescriptions that were issued for other than a legitimate medical purpose." Resp.

        Exh. 63 at 2; see also Resp. Exh. 64 (ISO for CVS 219); Resp. Exh. 65 (ISO for CVS 5195).

        Consistent with its pledge to terminate any customer that DEA believes poses an unreasonable

        risk of potential diversion, on February 3, 2012, Cardinal Health immediately terminated sales of

        controlled substances to CVS 219 and CVS 5195 from all its distribution centers.

               82. In my opinion, Cardinal Health's conduct with respect to CVS stores 219 and 5195

        was reasonable under the circumstances. CVS is one of the nation's largest pharmacy chains.

        As explained above, Cardinal Health has historically approached its due diligence of chain

        pharmacies in a way that is similar to but distinct from independent retail pharmacies, in that



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        Cardinal Health relies more heavily on the chain's corporate department. With respect to CVS in

        particular, I never had any basis to doubt the truth and soundness of the representations made to

        Cardinal Health by CVS's corporate offices.

               83. To the contrary, several considerations suggested to me that the representations made

        by CVS's corporate department were made in good faith and were reliable. First, the

        information Cardinal Health receives from the corporate office of CVS is not coming from a

        pharmacist who may be engaged in misconduct. Second, pharmacists are ultimately responsible

        for filling prescriptions, and chain pharmacists do not have the same direct and substantial

        financial interests in filling prescriptions as retail independent pharmacists who often own the

        pharmacy do. Third, CVS, as a large corporation, has a corporate interest in operating

        pharmacies that comply with DEA's regulations. Fourth, I am personally acquainted with many

        of CVS's current and former pharmacists, including the following individuals: Orren Peacock

        (retired), former President of the National Association of Boards of Pharmacies and the Texas

        State Board of Pharmacy; Michael Ayotte, former member of the Virginia Board of Pharmacy;

        Carl H. (Fritz) Hayes, former Chairman of the Florida Board of Pharmacy; Robert Parrado,

        former President of the Florida Board of Pharmacy; and Richard Kolezynski, member of the

        Ohio State Board of Pharmacy, with whom I currently serve. It is my personal and professional

        judgment that these individuals have demonstrated a commitment to their professional,

        corporate, and societal responsibilities. Fifth, CVS has rarely failed to respond when the QRA

        team or I asked for information about a particular store or order. Sixth, in 2008, CVS and

        Cardinal Health conducted a webinar during which CVS discussed, among other things, its loss

        prevention protocols. This presentation led me to believe that CVS had the capability and

        commitment to investigate potential diversion.



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               84. Cardinal Health continues to strive to enhance its SOM system and is committed to

        doing its part to prevent diversion of controlled substances into other than legitimate medical

        channels. The company has devoted tremendous resources to this endeavor and will continue to

        do so going forward. Although there are things that Cardinal Health could have done differently

        with respect to the four pharmacies named in the February 2 Order, it is my belief that the

        company acted reasonably and diligently to address an ever-evolving problem posed by

        prescription drug diversion.




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               I declare under penalty of perjury that the foregoing is true and correct.

               Executed on April 13, 2012.




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